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NOwembeh 2, 297i

DEAR ASSIGNED CSUNSEL MRS. KLIZABETP GENURNS 4%

SRRETINGS. 1 Am WAITING TO CET YOO KNOW THAT YM NOT Sigting
YSUR ATTORNEY REPRESENTAT ISIN CONTRACT Sb THAT (ILE BE ABLE XD AVOID
ENTERING INTS AN AGREEMENT WHITH WiLL ALLOW VOU TD BE PLACED UNDER
TRE CYONTROL VE TNE DREECNDANTS Wd ARS TRYING TS NNCAWEULLY APPIINT
YOU AS A TRIBE CVU NSEC TY GARIN AN UNFALR ADVANTAGE OR FAVORABLE OUTCIME
IN TALS BISTIAAC BIGH PROFILE LAWSUVY CASE ,

TRE U.S DISTRICT @8URT IN SYRACUSE BQE UCABELED po DEPEND PNT
AND 1S BEING SUEP AS A RESULT VE THE WHONGEUL ACTIONS DE THELK EMtLdyce!
RS VESTAIBED IN MY LEGAL PARFERS TILED LN THIS MATTER , US DISTRICY QUDEE
BRENDA K.SAPANNSES OOSS AYY VEXVG ANY AYTRIAITY AT PLUTO ISSUES AN ORDER
AP RYINTING ME A TRIRG COUNSEL AS A COUNTER MEASURE TS PVSIP THE ENTE LIAS
dE A OVDGEMENT BY DS FAULCY FSR TUS REUCE DEMANDED IN MY LSEGAL PAPERS, THE
BDEEENDP NTS NAS REEUSED VO TULFLLL THEIR QBUGATISAS AND ACT (LN ACCORDANCE
WITHTHE CAW SO A BUDREM EAT BY PEEALULY MYST BE GNTCKEP ACHAINST TACM
BOR TRE REVIET DEMANDED IN MY SVPPLEMENTAL COMEILEINY AND MOTION PAVERS
FOR A SUMMABLY QUDEEMENT WHITH LTS STIG PENDING BECORE TRE GOVAN ,

IT 1S BV UDENT THAT YR WILL WOT BE ABLE TD PCT INDEPENDENTLY

BECAUSE VE YIVE CIANECTIVNAS WITS TRE BEER NP PATS AND OTREL 2PEQPLG BY WE
WUL WENGE TS APONESS PLL ISSUES INVRACH IW THIS CASS BITH IDS GION,

TAKS CARS AND PLE REIN TOUCH. Papce ovr |

RESPEANEULO) SUBMITTES ,

Wie ces

BWAYNS PRILLAE NANTES 1263697

 
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THES CURT CLSEK'S DETICE , UNITSD STATES DISTINCT COURT ) IPMES T. FUKY
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DEP ARK MSRY DE LAW, TNE CAPITOL, ALOABNY, NEWYDKE LABAG ON NNEMBER
ATOZ 5, AND GCUZABETH AaNUNS ESQ, MSUUIN & MEQUN PLLC ,

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ON NWSMBER 4, ZZ, |

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Wy P. fds 5.
WEYUNG P. VENTE 125364

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P.O. BOX 618
AUBURN, NEW YORK 13024

NAME: WaUNK &. VANCE DIN: 1ZB3E47

     
  
 

    

- DISTRICT COURT
M. DOMURAD, CLERK

   

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